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     IT IS ORDERED as set forth below:



     Date: June 7, 2019
                                                      _____________________________________
                                                                  James R. Sacca
                                                            U.S. Bankruptcy Court Judge

    _______________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION

IN RE:
                                                        CHAPTER 11
SIGNATURE PACK, LLC
                                                        CASE NO. 19-20916-JRS
            Debtor.

                 ORDER AND NOTICE ESTABLISHING AUGUST 9, 2019
          AS THE DEADLINE FOR FILING PROOFS OF CLAIM AND INTERESTS

          Debtor filed its “Motion to Establish Bar Date for Filing Proofs of Claims” (Doc. No. 59)
on June 4th, 2019 (the “Motion”). In the Motion, Debtor requests entry of an order establishing
the deadline for creditors and parties-in-interest asserting claims or interests arising prior to May
9, 2019 (“Petition Date”) to file proofs of claim. After reviewing the Motion and based upon the
representations contained therein, the Court concludes that sufficient cause exists to grant the
Motion. Accordingly, it is hereby:
          ORDERED and NOTICE IS HEREBY GIVEN that each creditor and party in interest
who seeks to prove a claim 1 against Debtor, Debtor’s property or the estate including, but not
limited to, any claim secured by a lien, security interest, or encumbrance against Debtor’s
property and any claim arising from the rejection of an executory contract or unexpired lease


1
    “Claim” is defined in 11 U.S.C. §101(5).
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which is required under the Bankruptcy Code to be filed in this case, shall file a proof of claim
or interest with:
                                  Clerk, U.S. Bankruptcy Court
                                 121 Spring Street SE, Room 120
                                     Gainesville, GA 30501

on or before August 9, 2019 (the “Bar Date”). Proofs of claim filed electronically may be filed
up to 11:59:59 p.m. All other proofs of claim must be filed by delivery to the Clerk’s Office
before 4:00 p.m.
       11 U.S.C. §1111 provides that a proof of claim is deemed filed for any claim which
appears in the Schedules except any claim scheduled as disputed, contingent or unliquidated as
to amount. The Schedules of Debtor were filed with the Court. The Schedules may be examined
at the Office of the Clerk, U.S. Bankruptcy Court between 8:00 a.m. and 4:00 p.m. or online at
http://ecf.ganb.uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov (unregistered
users). Any creditor or party-in-interest whose claim is set forth in the Schedules in the correct
amount and is not shown as disputed, contingent, or unliquidated as to amount, may, but need
not, file a proof of claim in this case. Unless barred by previous order of the Bankruptcy Court,
creditors and parties-in-interest whose claims are not scheduled, are scheduled in an
incorrect amount or are scheduled as disputed, contingent or unliquidated and who desire to
participate in the case and share in any distribution must file proofs of claim on or before the
Bar Date. If the Schedules are unclear as to whether your claim is disputed, contingent,
unliquidated or incorrect as to amount or if your claim is otherwise improperly scheduled, you
must file a proof of claim on or before the Bar Date. Any creditor and any party-in-interest who
desire to rely on the Schedules has the duty to determine whether the claim is accurately listed.
       Pursuant to the terms of this order, any creditor and any party-in-interest whose is
required to file a proof of claim and who fails to do so by the above deadline may be
forever barred, estopped and enjoined from asserting the claim against Debtor and this
estate and may be barred from participating in any plan that may be confirmed in this
Chapter 11 proceeding.
       Any claim that arises from the rejection of an executory contract or unexpired lease after
the date of this Order but prior to the entry of an order confirming a place of reorganization for
Debtor must be filed within thirty (30) days from the date of entry of the Order rejecting the



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contract or lease; in no event, however, shall the deadline set forth in this paragraph be earlier
than the Bar Date.
       Debtor shall serve this Order and Notice upon all creditors, parties in interest, and those
persons who have filed a request for notices in this case within three business days of its entry.
                                          End of Order

Prepared by:
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/s/ Leslie M. Pineyro
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Office of the United States Trustee, 362 Richard B. Russell Federal Building, 75 Ted Turner
Drive, S.W., Atlanta, Georgia 30303




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